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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
Estate of Yael Botvin, et al.

Plaintiffs, :
Vv. : Civil Action No. 1:21-cv-03186 (RCL)

Heideman Nudelman & Kalik, P.C., et al. :
Defendants.

DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR AN EXTENSION OF
TIME TO RESPOND TO DEFENDANTS’ MOTION TO DISMISS

COME NOW Defendants The Heideman Law Group, P.C. d/b/a Heideman Nudelman &
Kalik, P.C., incorrectly sued separately as “Heideman, Nudelman & Kalik, P.C., and The
Heideman Law Group, P.C.,” Richard Heideman, Noel Nudelman, and Tracy Reichman Kalik,
by and through counsel, WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP, and
respectfully submit this opposition to Plaintiffs’ motion for an extension of time to respond to
Defendants’ motion to dismiss. As grounds therefore, Defendants respectfully submit as follows:

1. Plaintiffs’ filed a Complaint alleging legal malpractice against Defendants on
December 6, 2021. Defendants deny liability vigorously.

2. Defendants waived service of process pursuant to Rule 4(d), and they filed a
timely motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6) and for failure to
join necessary parties pursuant to Rule 12(b)(7).

3. Pursuant to Local Civil Rule 7(b), Plaintiffs’ response to Defendants’ motion is
due within fourteen days. Because Defendants filed their motion to dismiss on February 11,

2022, Plaintiffs’ response is due on February 25, 2022.
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4. Plaintiffs’ counsel contacted Defendants’ counsel to request the courtesy of an
extension on Monday, February 14, 2022. Plaintiffs’ counsel requested a five-week extension of
time to respond to Defendants’ motion.

5. Defendants responded, as a matter of professional courtesy, and in the spirit
cooperation, that they were willing to give Plaintiffs additional time. But Defendants proposed a
shorter extension from the 14 days permitted under Local Civil Rule 7(b) to 31 days until March
14, 2022. Defendants’ proposed extension of time is more than twice the duration the Local Civil
Rules allocate for a motion response.

6. Plaintiffs’ counsel demanded to know why Defendants were reluctant to extend
briefing until April 1, 2022 at 4:43 p.m. on February 15, 2022. Before Defendants had an
opportunity to respond, Plaintiffs’ counsel filed this motion to extend at 10:16 a.m. on February
16, 2022.

7, Defendants’ remain prepared to consent to an extension of time until March 14,
2022. Plaintiffs offer no reason for a five week extension other than the fact that they provided a
copy of a draft complaint to Defendants on June 9, 2021. If there was a compelling reason for
such an extension, Plaintiffs did not offer one.

8. Plaintiffs’ counsel criticize Defendants for their reluctance to consent to a five-
week extension. Yet, it is the Plaintiffs who seek Defendants’ agreement to such a lengthy
briefing schedule. And it is the Plaintiffs who bear the burden of explaining why this Court
should extend their time to respond so far beyond what the Local Civil Rules permit. See Fed. R.
Civ. P. 6(b).

9. Even so, Defendants believe Plaintiffs’ Complaint lacks any genuine legal merit,

and they would like the parties to brief the motion to dismiss for this Court’s consideration as
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soon as practicable. The fact that Plaintiffs’ counsel previously provided a draft of the
Complaint, which differs from the Complaint he filed in December, is immaterial.

10. Defendants’ motion to dismiss complied with the Local Civil Rules’ page limit
requirements, and Defendants filed their motion timely according to Rule 4(d) upon waiving
service of process. The Local Civil Rules make no distinction between the time to respond to a
two-page motion and a 45-page motion. And they make no distinction between the time to
respond to a motion to dismiss filed in response to a hand-served or service-waived complaint.

11. Defendants endeavored to work with Plaintiffs’ counsel in good faith to provide a
reasonable accommodation to his request for an extension. Defendants were under no obligation
under the Local Civil Rules to consent to any enlargement of time. Recognizing the importance
of professional courtesy, however, Defendants agreed to grant a reasonable extension — albeit
shorter than Plaintiffs’ counsel proposed.

12. Apparently, Plaintiffs’ counsel chose to reject Defendants’ proposed offer of an
extension without conferring further with Defendants. Moreover, Plaintiffs’ counsel — apparently
seeking to influence this Court’s evaluation of the merits of Plaintiffs’ Complaint as part of the
pending motion to dismiss — interjected the fact that the parties attempted to resolve their dispute
through mediation.

13. The fact that the parties mediated this case before Plaintiffs filed their Complaint
and the identity of the mediator who participated in that process are completely irrelevant
pertaining to the pending motion before the Court. They have no bearing on Plaintiffs’ request
for an extension, or for that matter, the pending motion to dismiss. Plaintiffs’ reference to those

issues is improper and should be stricken. See Fed. R. Civ. P. 12(f).
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14. Defendants respectfully request this Court to deny Plaintiffs’ motion for a five

week extension, and to the extent that the Court agrees that Plaintiffs be granted a reasonable

extension, Defendants request that the Court grant the extension, as the Court deems appropriate,

but order that Plaintiffs file their opposition not later than March 14, 2022. In the event such an

extension is granted, Defendants request that they have until March 28, 2022 to file their Reply.

WHEREFORE, Defendants The Heideman Law Group, P.C. d/b/a Heideman Nudelman

& Kalik, P.C., incorrectly sued separately as “Heideman, Nudelman & Kalik, P.C., and The

Heideman Law Group, P.C.,” Richard Heideman, Noel Nudelman, and Tracy Reichman Kalik

respectfully request this Court deny Plaintiffs’ motion for an extension of time to respond to

Defendants’ motion to dismiss.

Respectfully submitted,

WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP

/s/ Jason R. Waters

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Reichman Kalik
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on February 17, 2022, I electronically filed and served

Defendants’ Opposition to Plaintiffs’ Motion to Extend and proposed Order using the Court’s
CM/ECF system on counsel of record for all parties in this action.

Robert J. Tolchin

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Counsel for Plaintiffs

/s/ Jason R. Waters
Jason R. Waters, Esquire
